     Case 3:18-cv-00199-MHL Document 19 Filed 10/04/18 Page 1 of 3 PageID# 82




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

Jonathan Shin, on behalf of himself and others
similarly situated

                                      Plaintiff,

v.
                                                               CIVIL ACTION NO. 3:18-cv-199
Kobe Enterprises, Inc. d/b/a Kobe Japanese Steak
& Sushi, and Jong Sun


                                      Defendants.



        JOINT MOTION IN SUPPORT OF ENTRY OF FLSA CONSENT DECREE

        Plaintiff Jonathan Shin (“Shin” or “Plaintiff”) and defendants Kobe Enterprises, Inc.

d/b/a Kobe Japanese Steak & Sushi ("Kobe") and Jong Sun ("Sun"), (Kobe and Sun are

collectively referred to as “Defendants”), (Plaintiff and Defendants are collectively referred to as

“Parties”), by counsel, jointly move the Court to enter the Consent Decree filed in this case, and

to approve the stipulated judgment by Defendants under the Fair Labor Standards Act of 1938, as

amended, 29 U.S.C. § 201, et seq., as being fair and adequate. In support of this motion, the

Parties are submitting a memorandum herewith.



Dated: October 4, 2018




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  Case 3:18-cv-00199-MHL Document 19 Filed 10/04/18 Page 2 of 3 PageID# 83




Respectfully Submitted:


JONATHAN SHIN,
Plaintiff

_/s/_______________________________
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Counsel for Plaintiff


KOBE ENTERPRISES, INC. D/B/A KOBE JAPANESE STEAK & SUSHI AND JONG
SUN,
Defendants

_/s/_______________________________
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                                        2
  Case 3:18-cv-00199-MHL Document 19 Filed 10/04/18 Page 3 of 3 PageID# 84




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of October 2018, I electronically filed the foregoing

using the Court’s CM/ECF system, which will send a notification of such filing (NEF) to the

following:

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                                             By:     _____/s/ _________________
                                                     Craig Juraj Curwood




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